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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    3LIONS PUBLISHING, INC.,

          Plaintiff,

    v.                                Case No. 8:19-cv-213-T-33TGW

    INTERACTIVE MEDIA CORP.
    d/b/a KANGURU SOLUTIONS,

          Defendant.

    ______________________________/

                                   ORDER

          This matter comes before the Court in consideration of

    Defendant Interactive Media Corp. d/b/a Kanguru Solutions’

    Motion to Dismiss the Complaint for Failure to State a Claim,

    or in the Alternative for Lack of Personal Jurisdiction (Doc.

    # 11), filed on March 4, 2019. Plaintiff 3Lions Publishing,

    Inc. responded on March 10, 2019. (Doc. # 13). For the reasons

    that follow, the Motion is denied.

    I.    Background

          3Lions Publishing, Inc. (3LP) is a Florida corporation

    “that provides . . . information, solutions, and guidance to

    the   healthcare   industry   regarding   the   implementation    of

    safeguards to comply with the Health Insurance Portability

    and Accountability Act (HIPAA).” (Doc. # 1 at 1). Interactive




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    Media   Corp.   (IMC)   is    a    “Massachusetts    Corporation      that

    describes itself as ‘an industry leader in providing secure

    hardware   encrypted    USB       solutions,    quality    portable   data

    storage,      fully-integrated         secure     remote     management,

    duplication equipment to organizations and businesses around

    the world.’” (Id. at 1-2). The Complaint alleges that IMC

    “blatantly committed trademark infringement on its website.”

    (Id. at 3).

         On August 25, 2017, 3LP received a federal trademark

    registration from the U.S. Patent and Trademark Office for

    the phrase “HIPAA Survival Guide” in International Classes 9,

    35, and 42. (Doc. # 1-3). That registration lists a “first

    use” date of August 31, 2009, and “first use in commerce”

    dates of March 15, 2013, as to Class 35 and March 16, 2016,

    as to Classes 9 and 42. (Id.).

         3LP alleges that IMC infringed on the trademark when IMC

    used the phrase “HIPAA Survival Guide” within a blog post

    dated October 31, 2012, on its website “to sell its healthcare

    compliance products and services” for which “it receives a

    financial benefit.” (Id. at 3). The blog post is entitled

    “HIPAA Survival Guide” and contains four sentences. (Doc. #

    1-2). The first sentence states, “Healthcare Informatics has

    a link to a HIPAA Survival Guide.” (Id.). The remaining three


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    sentences reference IMC/Kanguru-branded products that may

    help healthcare companies comply with HIPAA requirements.

    (Id.).

          3LP further alleges that IMC’s use of 3LP’s trademark on

    IMC’s website “attract[s] larger amounts of internet traffic,

    often    by   misleading   consumers       into   believing    [IMC]    [is]

    associated, affiliated with, or authorized by 3LP.” (Doc. #

    1 at 3). Further, 3LP indicates that it “never entered into

    any agreement with [IMC] that would permit [IMC] to adapt or

    otherwise use the [trademark].” (Id.). 3LP also alleges that

    IMC’s    “acts   of   trademark       infringement    were    willful   and

    deliberate.” (Id. at 4).

          3LP initiated this action on January 28, 2019, asserting

    two claims under the Lanham Act for false designation of

    origin and trademark infringement. (Doc. # 1). IMC moved to

    dismiss on March 4, 2019. (Doc. # 11). 3LP has responded (Doc.

    # 13), and IMC has replied. (Doc. # 26). The Motion is ripe

    for review.

    II.   Legal Standard

          On a motion to dismiss pursuant to Rule 12(b)(6), this

    Court accepts as true all the allegations in the complaint

    and   construes    them    in   the    light   most   favorable    to   the

    plaintiff. Jackson v. Bellsouth Telecomms., 372 F.3d 1250,


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    1262   (11th    Cir.   2004).    Further,    this     Court    favors   the

    plaintiff with all reasonable inferences from the allegations

    in the complaint. See Stephens v. Dep’t of Health & Human

    Servs., 901 F.2d 1571, 1573 (11th Cir. 1990). But,

           [w]hile a complaint attacked by a Rule 12(b)(6)
           motion to dismiss does not need detailed factual
           allegations, a plaintiff’s obligation to provide
           the grounds of his entitlement to relief requires
           more than labels and conclusions, and a formulaic
           recitation of the elements of a cause of action
           will not do. Factual allegations must be enough to
           raise a right to relief above the speculative
           level.

    Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)(internal

    citations omitted). Courts are not “bound to accept as true

    a legal conclusion couched as a factual allegation.” Papasan

    v. Allain, 478 U.S. 265, 286 (1986). “The scope of review

    must be limited to the four corners of the complaint” and

    attached exhibits. St. George v. Pinellas County, 285 F.3d

    1334, 1337 (11th Cir. 2002).

           Additionally, motions to dismiss for lack of personal

    jurisdiction pursuant to Rule 12(b)(2) are governed by a two-

    part   analysis.     First,    the   Court   determines       whether   the

    plaintiff      has   alleged    facts    sufficient    to     subject   the

    defendant to the forum state’s long-arm statute. Future Tech.

    Today, Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1249 (11th

    Cir. 2000). Second, the Court evaluates whether sufficient


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    minimum contacts exist between the defendant and the forum

    state, such that jurisdiction does not offend “traditional

    notions of fair play and substantial justice.” Id.

           The plaintiff has the initial burden to show that the

    Court has personal jurisdiction over the defendant. Meier ex

    rel. Meier v. Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1268-69

    (11th Cir. 2002). The plaintiff must allege “sufficient facts

    to make out a prima facie case of jurisdiction.” Estate of

    Scutieri v. Chambers, 386 F. App’x 951, 956 (11th Cir. 2010).

    Conclusory allegations are insufficient. Meier, 288 F.3d at

    1269.

           Once the plaintiff establishes a prima facie case of

    jurisdiction, the burden shifts to the defendant to challenge

    those allegations. Id. If the defendant submits affidavits

    challenging jurisdiction, the burden then shifts back to the

    plaintiff to substantiate the allegations in the complaint

    with    evidence   supporting   jurisdiction.     Id.   Ultimately,

    reasonable inferences are drawn in the plaintiff’s favor if

    the evidence conflicts. Madara v. Hall, 916 F.2d 1510, 1514

    (11th Cir. 1990). However, any doubt about the reach of the

    Florida long-arm statute and the Court’s jurisdiction are

    resolved in favor of the defendant and against jurisdiction.




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    Gadea v. Star Cruises, Ltd., 949 So. 2d 1143, 1150 (Fla. 3d

    DCA 2007).

    III. Analysis

         A.     Personal Jurisdiction

         Although IMC first argues that the Court should dismiss

    3LP’s Complaint for failure to state a claim pursuant to Rule

    12(b)(6),     the     Court’s     ability     to    exercise    personal

    jurisdiction over IMC presents a threshold issue. See Madara,

    916 F.2d at 1514 n.1 (11th Cir. 1990) (explaining that the

    district court should have ruled on personal jurisdictional

    issues before considering a request to dismiss for failure to

    state a claim). As such, the Court first addresses whether

    personal     jurisdiction    over      IMC   is    proper   pursuant   to

    Florida’s long-arm statute.

                1.      Florida’s Long-Arm Statute

         Florida’s long-arm statute, Section 48.193(1)(a) states

    that “a person, whether or not a citizen or resident of this

    state . . . submits himself           . . . to the jurisdiction of the

    courts of [Florida] for any cause of action arising from any

    of the following acts: . . . [c]ommitting a tortious act

    within this state.”

         3LP’s Complaint states that IMC’s “tortious acts of

    trademark    infringement       all    occurred    either   directly   or


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    indirectly within this jurisdiction, as well as throughout

    the United States, and/or was specifically targeted at this

    jurisdiction.” (Doc. # 1 at 2). Further, 3LP claims that IMC

    “knew, or should have known, that its acts of trademark

    infringement targeted this jurisdiction and/or would have a

    direct    impact      on   persons   or     entities    located    in     this

    jurisdiction where the intellectual property was created, is

    stored and where the subject matter of this action resides.”

    (Id.).

           IMC’s    Motion     asserts   that   the    Court   lacks   personal

    jurisdiction over IMC because it does not conduct business in

    Florida. (Doc. # 11 at 17-19). In support, IMC provides a

    Declaration from its founder and president, Donald Brown.

    (Doc. # 11-1). Brown states in the Declaration that IMC does

    not    employ   any    representatives      within     Florida,    does    not

    solicit business in Florida, does not maintain offices in

    Florida, does not pay taxes to Florida, does not avail itself

    of the laws of Florida, and had no reason to foresee it would

    be sued in Florida. (Doc. # 11-1 at 2). Further, IMC argues

    that 3LP’s assertions that IMC engaged in tortious acts are

    mere    legal   conclusions      without     any   factual   support      and

    therefore are not entitled to a “presumption of correctness.”

    (Id. at 18).


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          As a preliminary matter, 3LP’s allegations contained

    within the Complaint are sufficient to meet the initial

    pleading requirements to establish personal jurisdiction. See

    Wash. Capital Corp. v. Milandco, Ltd., Inc., 695 So. 2d 838,

    841 (Fla. 4th DCA 1997) (explaining a plaintiff satisfies its

    initial pleading requirements by tracking the language of the

    long-arm statute without pleading supporting facts or by

    alleging specific facts that demonstrate that the defendant’s

    actions fit within one or more subsections of the statute).

    Florida’s long-arm statute states in relevant part that a

    nonresident defendant is subject to personal jurisdiction in

    Florida for “[c]ommitting a tortious act within this state.”

    Fla. Stat. § 48.193(1)(a)(2). This portion of the statute

    provides for specific personal jurisdiction “over causes of

    action arising from or related to the defendant’s actions

    within   Florida     and    concerns      a   nonresident      defendant’s

    contacts with Florida only as those contacts related to the

    plaintiff’s cause of action.” Louis Vuitton Malletier, S.A.

    v. Mosseri, 736 F.3d 1339, 1352 (11th Cir. 2013).

          Under the long-arm statute, a nonresident defendant need

    not have a physical presence in Florida for the Court to

    assert personal jurisdiction. See Wendt v. Horowitz, 822 So.

    2d   1252,   1260   (Fla.   2002).       Instead,   such   a   nonresident


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    defendant need only commit a tortious act that causes injury

    within Florida. Louis Vuitton Malletier, 736 F.3d at 1353.

    Trademark infringement is treated as a “tortious act” for

    purposes of the Florida long-arm statute. See Id.; see also

    Licciardello v. Lovelady, 544 F.3d 1280, 1283 (11th Cir.

    2008).    Given   that    the     Complaint    alleges       IMC   committed

    “tortious      acts”     within     this      jurisdiction,        3LP   has

    sufficiently tracked the language of the long-arm statute to

    meet     the    initial     pleading       standards        for    personal

    jurisdiction.

           Nonetheless,      IMC’s    assertions        in    its   Motion   are

    sufficient to shift the burden back to 3LP to produce evidence

    in support of jurisdiction. See Meier, 288 F.3d at 1269. 3LP’s

    response to IMC’s Motion provides that personal jurisdiction

    is   proper    because    IMC’s     website    “is       accessible   within

    Florida” and “because there were direct sales made to persons

    in Florida from its website.” (Doc # 13 at 10).

           3LP also argues that the Complaint’s facts cannot be

    distinguished      from     the      facts     of        Licciardello.    In

    Licciardello, a nonresident defendant posted a website that

    was accessible to the public in Florida and that used a

    resident plaintiff’s trademarked name and picture — thereby

    implying that the plaintiff endorsed the defendant’s skill as


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    a personal manager. 544 F.3d at 1282. The website offered CDs

    for sale that provided management advice and other career

    assistance.    Id.   The   Eleventh    Circuit,   in    reversing   the

    district court’s dismissal of the case, found that personal

    jurisdiction existed       because    trademark infringement on a

    website causes injury in Florida “by virtue of the website’s

    accessibility in Florida.” Id. at 1283.

           However,   Licciardello   pre-dates   the    Florida     Supreme

    Court’s decision in Internet Solutions Corp. v. Marshall, 39

    So. 3d 1201, 1203 (Fla. 2010), which held in the context of

    a defamation claim that a website “must not only be accessible

    in Florida, but also be accessed in Florida” to subject a

    nonresident to Florida’s jurisdiction under the long-arm

    statute. Nevertheless, as explained in Meier, the Court draws

    all reasonable inferences in 3LP’s favor when the evidence

    concerning jurisdiction conflicts. See Meier, 288 F.3d at

    1269    (“Where   the   plaintiff’s     complaint      and   supporting

    evidence conflict with the defendant’s affidavits, the court

    must construe all reasonable inferences in favor of the

    plaintiff.”).

           3LP’s Complaint alleges IMC utilized 3LP’s trademarked

    phrase “HIPAA Survival Guide” within a blog post on its

    website, thereby committing the intentionally tortious act of


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    trademark infringement. In support, 3LP attaches a copy of

    IMC’s blog post at https://store.kanguru.com/blogs/archives/

    6818326-hipaa-survival-guide. (Doc. # 1-2). 3LP is a Florida

    corporation with its principal place of business located

    within Florida. (Doc. # 1 at 1).

          As such, the Court can reasonably infer that the webpage

    containing the blog post was accessed within Florida by at

    least one person or entity — 3LP. Further, 3LP argues — and

    IMC does not dispute — that IMC has made sales, however small

    or insignificant, through its website to persons or entities

    located in Florida. (Doc. # 13 at 9). IMC’s own founder and

    president states that “[a] direct sale of IMC’s products

    through its website to persons or entities located in Florida

    would be insubstantial and isolated.” (Doc. # 11-1 at 3).

    Although IMC downplays the number of sales in Florida, the

    Court draws the reasonable inference that IMC’s website — and

    the offending blog post in particular — was also accessed

    within Florida by persons and entities other than 3LP.

          Therefore, the Court finds 3LP has met its burden of

    establishing personal jurisdiction over IMC under Florida’s

    long-arm statute.




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                  2.      Minimum Contacts

           The    Court    now   evaluates     whether   sufficient   minimum

    contacts exist between IMC and Florida such that jurisdiction

    does   not        offend   “traditional    notions   of   fair   play    and

    substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S.

    310, 320 (1945). In doing so, the Court considers relevant

    factors such as the burden on IMC, Florida’s interest in

    adjudicating         the   dispute,   3LP’s    interest    in    obtaining

    convenient and effective relief, and the judicial system’s

    interest in resolving the dispute. See World-Wide Volkswagen

    Corp. v. Woodson, 444 U.S. 286, 292 (1980).

           3LP alleges in its Complaint that IMC committed the

    intentional tort of trademark infringement. (Doc. # 1 at 4).

    The Eleventh Circuit has held that intentional torts are acts

    that create a “substantial connection” with the forum state

    such that the acts may support the exercise of personal

    jurisdiction over a nonresident defendant who otherwise has

    no other contacts with the forum state. See Licciardello, 544

    F.3d at 1285. Indeed, this Court has recognized that “a number

    of courts” have held the minimum contacts requirement is met

    and a defendant should anticipate being hailed into a court

    in the relevant jurisdiction “where a defendant’s tortious

    conduct      is    intentionally   and     purposefully   directed      at   a


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    resident of the forum.” New Lennox Indus. v. Fenton, 510 F.

    Supp. 2d 893, 904 (M.D. Fla. 2007).

          As   the   Complaint     alleges     that    IMC     committed        the

    intentional tort of trademark infringement against 3LP, a

    Florida    resident,    the    Court     finds    that     the     Complaint

    establishes that sufficient minimum contacts exist between

    IMC and Florida. See R&R Games, Inc. v. Fundex Games, Ltd.,

    No. 8:12-cv-01957-T-27TBM, 2013 U.S. Dist. LEXIS 28426, at

    *12   (M.D.   Fla.   2013)(“Applying      Calder,        courts   assessing

    allegations of trademark infringement have consistently found

    the minimum contacts inquiry satisfied because trademark

    infringement is an intentional tort directed toward the state

    in which the plaintiff is domiciled.”). 3LP alleges that it

    was injured by the intentional misconduct of IMC, a non-

    Florida    resident,     who     expressly       aimed     its     trademark

    infringement at Florida and throughout the country via the

    internet. (Doc. # 1 at 2).

          Under the Supreme Court’s holding in Calder v. Jones,

    465 U.S. 783, 790 (1984), 3LP is not required to travel to

    IMC’s residence in Massachusetts to obtain a remedy because

    “[a]n   individual     injured    in    [Florida]        need    not   go   to

    [Massachusetts] to seek redress from persons who, though

    remaining in [Massachusetts], knowingly cause the injury in


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    [Florida].” The Court also finds that Florida has a strong

    interest in affording its residents a forum to obtain relief

    from intentional misconduct of nonresidents causing injury in

    Florida. See generally Sculptchair, Inc. v. Century Arts,

    Ltd., 94 F.3d 623, 632 (11th Cir. 1996); Allerton v. State

    Dep’t of Ins., 635 So. 2d 36, 40 (Fla. 1st DCA 1994).

    Therefore, the Court concludes that 3LP has alleged facts

    sufficient to establish personal jurisdiction over IMC.

          B.    Failure to State a Claim

          Having determined that jurisdiction over IMC is proper,

    the Court turns to IMC’s argument that the Complaint should

    be dismissed for failure to state a claim under Rule 12(b)(6).

    The Court considers the false designation of origin and

    trademark infringement claims separately.

                1.   False Designation of Origin Claim

          3LP first alleges that IMC’s use of “HIPAA Survival

    Guide” in IMC’s October 31, 2012 blog post “is likely to cause

    confusion, to cause mistake, or [to] deceive others as to the

    affiliation, connection, or association of [IMC] with 3LP, or

    as to the origin, sponsorship, or approval of commercial

    activities with 3LP.” (Doc # 1 at 4). To successfully plead

    a false designation of origin claim, a complaint must allege

    that (1) the plaintiff had enforceable trademark rights in


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    the mark, and (2) the defendant used a mark similar enough to

    the plaintiff’s to create a likelihood of consumer confusion.

    Lone Star Steakhouse & Saloon, Inc. v. Longhorn Steaks, Inc.,

    106 F.3d 355, 358 (11th Cir. 1997), modified, 122 F.3d 1379

    (11th Cir. 1997).

          IMC asserts that 3LP did not have enforceable rights in

    the trademark as of October 31, 2012, because IMC’s usage of

    “HIPAA Survival Guide” predates 3LP’s usage of the same. (Doc

    # 11 at 10). As shown in the Complaint, IMC’s blog post

    contains a date of October 12, 2012, while 3LP’s federal

    trademark registration was issued on August 15, 2017. The

    registration indicates that 3LP first used “HIPAA Survival

    Guide” in commerce on either March 15, 2013, or March 16,

    2016. (Id.). Given those dates, IMC states that its use of

    “HIPAA Survival Guide” in commerce was earlier than 3LP’s use

    in commerce.

          3LP contends the dates of first use in commerce listed

    on the federal trademark registration are inaccurate and the

    result of a miscommunication between 3LP and its counsel.

    (Doc. # 13 at 5). Despite the mistake, 3LP claims it obtained

    enforceable rights in the trademark beginning with its first

    use of “HIPAA Survival Guide” in 2009. (Id. at 4-5). However,

    the Supreme Court has held that “[r]ights in a trademark are


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    determined by the date of the mark’s first use in commerce.”

    Hana Fin., Inc. v. Hana Bank, 135 S. Ct. 907, 909 (2015).

            While 3LP’s assertions in response to Defendant’s Motion

    are beyond the four corners of the Complaint, 3LP does

    indicate within the Complaint that “for nearly a decade, 3LP

    has used the Mark continuously in commerce on its website .

    .   .    and    its   store     front,    located   on    the   Internet     at

    store.hipaasurvivalguide.com.” (Doc. #1 at 5). In support,

    3LP attached to its Complaint an archived internet screen

    capture        of   www.hipaasurvivalguide.com.          (Doc   #   1-4).   The

    attachment clearly shows that the webpage existed as early as

    May     1,   2009,    thereby    supporting    3LP’s     assertion     in   the

    Complaint that it has used “HIPAA Survival Guide” for more

    than a decade. Accepting as true the factual allegations in

    the Complaint and construing them in the light most favorable

    to 3LP, the Court finds that 3LP has pled sufficient facts to

    show it had enforceable trademark rights in the phrase “HIPAA

    Survival Guide” prior to the date of IMC’s blog post.

            As the Complaint contains factual support for 3LP’s

    usage of the trademark in commerce prior to IMC’s blog post,

    the Court turns to the second prong of a false designation of

    origin claim. Here, IMC used the exact phrase contained within

    3LP’s federally registered trademark. Therefore, IMC clearly


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    used marks “similar enough to cause confusion.” Lone Star

    Steakhouse, 106 F.3d at 359. Therefore, the Court denies the

    Motion as to the false designation of origin claim.

                 2.      Trademark Infringement Claim

          3LP also alleges that IMC’s use of “HIPAA Survival Guide”

    in   IMC’s        October   31,    2012,          blog    post     “constitutes

    infringement . . . in violation of 15 U.S.C. §§ 1114 and 1125

    of the Lanham Act.” (Doc # 1 at 5). To successfully plead a

    trademark infringement claim, 3LP must allege “(1) that [3LP]

    possess[es] a valid mark, (2) that [IMC] used the mark, (3)

    that [IMC’s] use of the mark occurred ‘in commerce,’ (4) that

    [IMC] used the mark ‘in connection with the sale . . . or

    advertising of any goods,’ and (5) that [IMC] used the mark

    in a manner likely to confuse consumers.” N. Am. Med. Corp.

    v. Axiom Worldwide, Inc., 522 F.3d 1211, 1218 (11th Cir.

    2008).

          The    Court    finds     that     the      Complaint      alleges      facts

    sufficient to establish that 3LP possesses a valid trademark.

    Further,     the     Complaint     establishes           that    IMC   used     the

    trademarked language “HIPAA Survival Guide” in its blog post

    dated October 31, 2012. (Doc. # 1-2).

          Having       determined     that      the    Complaint       sufficiently

    alleges facts to support the first two elements, the Court


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    turns to the use in commerce and use in connection with the

    sale or advertising of goods requirements. The Lanham Act

    deems a trademark to be used in commerce on goods when

          (A) it is placed in any manner on the goods or their
          containers or the displays associated therewith or
          on the tags or labels affixed thereto, or if the
          nature   of   the   goods   makes   such   placement
          impracticable, then on documents associated with
          the goods or their sale, and (B) the goods are sold
          or transported in commerce.

    15 U.S.C. § 1127. The Eleventh Circuit has held that “[t]he

    nature of the Internet indicates that establishing a typical

    home page on the Internet, for access to all users, would

    satisfy    the    Lanham      Act’s       ‘in   commerce’    requirement.”

    Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188,

    1195 (11th Cir. 2001)(quoting Planned Parenthood Fed’n of Am.

    v. Bucci, No. 97 Civ. 0629 (KMW), 1997 WL 133313, at *3

    (S.D.N.Y. 1997)).

          In   its   Complaint,        3LP    asserts    that   IMC   “used   the

    [trademark]      in   order   to    sell      its   healthcare    compliance

    products and services.” (Doc. # 1 at 3). Further, 3LP attached

    to the Complaint a copy of IMC’s internet blog post that

    advertises IMC/Kanguru-branded products allowing companies to

    comply with HIPAA requirements immediately following the use

    of the phrase “HIPAA Survival Guide”. (Doc. #1-2). Thus,

    drawing all reasonable inferences in favor of 3LP, the Court


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    finds that 3LP has plausibly alleged the third and fourth

    elements of a trademark infringement claim.

          Finally, 3LP must plausibly allege that IMC used “HIPAA

    Survival Guide” in a manner likely to confuse consumers. The

    Court weighs seven relevant factors to determine whether

    IMC’s alleged use of the trademark is likely to confuse

    consumers:

          (1) the strength of the plaintiff’s mark; (2) the
          similarity between the plaintiff’s mark and the
          allegedly infringing mark; (3) the similarity
          between the products and services offered by the
          plaintiff and defendant; (4) the similarity of the
          sales methods; (5) the similarity of advertising
          methods; (6) the defendant’s intent, e.g., does the
          defendant hope to gain competitive advantage by
          associating his product with the plaintiff’s
          established mark; and (7) actual confusion.

    Alliance Metals, Inc. v. Hinely Indus., Inc., 222 F.3d 895,

    907 (11th Cir. 2000). “The most persuasive factor on likely

    confusion is proof of actual confusion.” Conagra, Inc. v.

    Singleton, 743 F.2d 1508, 1514 (11th Cir. 1984).

          IMC    contends   that    the     “[C]omplaint    makes   a   very

    generalized allegation that the alleged unlawful use of the

    [trademark]    ‘enables   [IMC]    to    attract   larger   amounts   of

    internet     traffic,   often     by    misleading     consumers    into

    believing they are associates, affiliated with or authorized

    by 3LP.’” (Doc. # 1 at 3). While IMC’s argument is well-



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    taken, the Court must draw all reasonable inferences in favor

    of 3LP. Here, the Complaint alleges that 3LP has used the

    trademarked       phrase   “HIPAA    Survival     Guide”   for   nearly    a

    decade. Further, 3LP contends that IMC utilized the exact

    trademarked phrase in a blog post without crediting 3LP as

    the owner of such term. While the products and services

    provided by 3LP and IMC may not be substantially similar,

    they are similar enough for IMC to have included                        3LP’s

    trademarked phrase in advertising IMC’s own products related

    to HIPAA compliance.

          The    Complaint     also     states   that   3LP    has   used    the

    trademarked phrase “in commerce on its website . . . and [at]

    its store front, located on the Internet.” (Doc. # 1 at 5).

    While the Complaint does not identify any actual confusion

    that has resulted from the alleged trademark infringement,

    such confusion is plausible given that IMC reproduced the

    exact phrase to which 3LP had trademark rights.

          In short, many of the relevant factors weigh in favor of

    a likelihood of consumer confusion. Thus, at this early stage

    of the litigation, the Court finds that 3LP has plausibly

    alleged     the   final    element   of    its   trademark   infringement

    claim.




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                 3.   Defendant’s Fair Use Affirmative Defense

           IMC also asserts in its Motion that its “inclusion of

    the claimed [trademark] in [the] blog post constitutes a non-

    infringing, non-trademark, fair use.” (Doc. # 11 at 12). Fair

    use is a statutory affirmative defense. See KP Permanent Make-

    Up, Inc. v. Lasting Impression I, Inc., 543 U.S. 111, 114

    (2004); see also Int’l Stamp Art, Inc. v. U.S. Postal Serv.,

    456 F.3d 1270, 1274 (11th Cir. 2006).

           The Court only considers a fair use affirmative defense

    when analyzing a 12(b)(6) motion if “the facts necessary to

    make   the   determination   are    evident   on   the   face   of   the

    complaint.” Land’s End at Sunset Beach Cmty. Ass’n v. Land’s

    End Acquisition Corp., No. 8:16-cv-828, 2016 U.S. Dist. LEXIS

    191616, at *23 (M.D. Fla. Nov. 7, 2016); see also Kelly-Brown

    v. Winfrey, 717 F.3d 295, 308 (2d Cir. 2013)(“Affirmative

    defenses may be adjudicated at this stage in the litigation,

    however, where the facts necessary to establish the defense

    are evident on the face of the complaint.”). Thus, although

    IMC provides analysis in support of its fair use defense

    within its Motion, the Court only looks to whether the defense

    is apparent on the face of 3LP’s Complaint at this stage of

    the case.




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          The fair use defense requires a defendant to prove “that

    its use is ‘(1) other than as a mark, (2) in a descriptive

    sense, and (3) in good faith.’” Int’l Stamp Art, Inc., 456

    F.3d at 1274 (quoting EMI Catalogue P’ship v. Hill, Holliday,

    Connors,   &   Cosmopulos,   Inc.,    228   F.3d   56,   64   (2d   Cir.

    2000)(citing 15 U.S.C § 1115(b)(4))). It is not clear on the

    face of the Complaint that IMC’s usage of “HIPAA Survival

    Guide” constitutes fair use given that the blog post’s title

    included the same phrase trademarked by 3LP and within the

    context of IMC promoting its products. Therefore, the Court

    declines to dismiss the Complaint based on IMC’s fair use

    affirmative defense and denies the Motion. However, IMC may

    raise its fair use defense again at the summary judgment

    stage.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:

    (1)   Defendant Interactive Media Corp.’s Motion to Dismiss

          the Complaint for Failure to State a Claim, or in the

          Alternative for Lack of Personal Jurisdiction (Doc. #

          11) is DENIED.

    (2)   Interactive Media Corp.’s Answer to the Complaint is due

          within 14 days of the date of this Order.




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          DONE and ORDERED in Chambers in Tampa, Florida, this

    10th day of June, 2018.




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